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                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE NORTHERN DISTRICT OF TEXAS
                                   DALLAS DIVISION

 UNITED STATES OF AMERICA                               §
                                                        §
 VS.                                                    §       Case No. 3:17-CR-155-L
                                                        §
 JAMSHID NORYIAN (01)                                   §
 DEHSHID NOURIAN (02)                                   §
 CHRISTOPHER RYDBERG (03)                               §
                                                        §

                 DEFENDANT CHRISTOPHER RYDBERG’S TRIAL BRIEF

         Based on the Government’s witness and exhibit lists and Motions in Limine, Defendant

 Christopher Rydberg anticipates several disputes that are likely to arise during cross examination. As

 discussed in Defendants’ responses to the Government’s Motions in Limine, the Government seeks

 to constrain Defendants’ ability to cross-examine Government witnesses regarding various topics

 that will impact the jury’s ability to evaluate the witnesses’ reliability and credibility. To avoid

 protracted evidentiary arguments during trial, Rydberg respectfully submits this trial brief to address

 those issues.

                                    Scope of Cross-Examination

       It is well established that in criminal cases great latitude is generally permitted in the cross-

examination of a prosecution witness to test the witnesses’ credibility. McConnell v. United States,

393 F.2d 404, 406 (5th Cir. 1968). Defense counsel must be “permitted to expose to the jury the

facts from which jurors, as the sole triers of fact and credibility, could appropriately draw inferences

relating to the reliability of the witness.” United States v. Diaz, 637 F.3d 592, 597 (5th Cir. 2011)

(citing United States v. Hitt, 473 F.3d 146, 156 (5th Cir.2006)). Although an attorney must have a

good-faith basis for asking a question on cross-examination, the fact need not be in evidence before

being introduced on cross-examination. See United States v. Courtney, 439 F. App’x 383, 385 (5th

Cir. 2011) (“For testimony about such an alleged bad act to be admissible under Rule 608(b), the


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questioning party must have a good-faith factual basis for the questioning….That does not mean

that the basis-in-fact for the questioning must be proved before a good-faith-inquiry may be

made.”); United States v. Tomblin, 46 F.3d 1369, 1389 n.52 (5th Cir. 1995) (“Rule 608(b) does

require a good-faith basis for the questions.”); United States v. Grajales–Montoya, 117 F.3d 356,

362 (8th Cir. 1997) (prosecutors must have good faith basis for questions asked during cross-

examination of a defendant), cert. denied, 522 U.S. 1007, 118 S.Ct. 586, 139 L.Ed.2d 423 (1997).

                        Impeachment Based on Prior Inconsistent Statement

        While a declarant-witness’s prior inconsistent statements may be admitted into evidence under

one of the exceptions to the rule against hearsay, Fed. R. Evid. 801(d)(1)(A), it does not have to fall

within a hearsay exception to be admissible for impeachment purposes. Lewis v. Insurance Co. of N.

Am., 416 F.2d 1077, 1080 (5th Cir. 1969). “The hearsay rule applies to statements offered to prove the

truth of the matter asserted. An inconsistent statement, on the other hand, is admitted to demonstrate

falsity. It is important evidence going to the credibility of a witness’ testimony, and the policy for

admitting it is readily apparent.” Id.; see also United States v. Cisneros-Gutierrez, 517 F.3d 751, 762-

63 (5th Cir. 2008) (affirming district court’s admission of prior inconsistent statement to impeach

witness where the court cautioned jury that evidence went to credibility of witness and was not being

admitted for the truth of the matter asserted); United States v. Dennis, 365 F. App’x 591, 594 (5th Cir.

2010) (“Here, the admitted evidence was highly probative because the Government sought to admit

Allen’s prior inconsistent statement, not for the truth of the matter asserted, but, rather, to impeach her

credibility.”). Accordingly, because defense counsel has a good faith basis to believe that what is

recorded in a witness’s interview report is, at least in substance, what the witness expressed, defense

counsel is free to ask about those statements to the extent they are in tension with what the witness

testifies to at trial. See United States v. Crinel, No. CR 15-61, 2016 WL 6441249, at *2 (E.D. La. Nov.

1, 2016) (in which the Government conceded that “[t]he Defendants are free to ask a witness whether

he or she made a statement that is reflected in an agents interview report”). If the witness denies the

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statement, the interview report can be used to refresh recollection or the agent can be called to testify to

the statements. See United States ex rel. Barrick v. Parker-Migliorini Int’l, LLC, No. 22-4049, 2023

WL 5371048, at *7 (10th Cir. Aug. 22, 2023) (recognizing that FBI interview reports can be used to

refresh recollection)

        Additionally, the Fifth Circuit does not require that statements be diametrically opposed to be

admissible as a prior inconsistent statement, either under the hearsay exception or for impeachment. On

several occasions, the Fifth Circuit has held “that a witness’s ‘feigned’ memory loss can be considered

inconsistent under the Rule, for ‘the unwilling witness often takes refuge in a failure to remember.’”

Cisneros-Gutierrez, 517 F.3d at 757-58 (quoting United States v. Bigham, 812 F.2d 943, 947 (5th Cir.

1987)). Thus, prior inconsistent statements, in which a witness recounted certain facts, may be used to

impeach a witness who later claims that he cannot remember the events. Id.

                                   Impeachment Based on Drug Use

        Evidence that a witness used drugs that could have impacted the witness’s perception or memory

of events is relevant and admissible to impeach that witness’s credibility. Such evidence may

demonstrate the witnesses’ state of mind was altered or impaired during the relevant time

period. See United States v. Samples, 897 F.2d 193, 197 (5th Cir. 1990) (permitting questions about

a witness’s drug use on particular, relevant instances); United States v. Cameron, 814 F.2d 403, 405

(7th Cir. 1987) (holding that evidence of a witness’s drug use “may be admitted where the memory

or mental capacity of a witness is legitimately at issue”).

                                      Impeachment Based on Bias

        A witness’s motive for testifying is “always relevant as discrediting the witness and

affecting the weight of his testimony.” Davis v. Alaska, 415 U.S. 308, 316 (1974) (emphasis added).

Cross-examination of a witness in matters pertinent to his credibility ought to be given the “largest

possible scope,” especially when a witness or accomplice may have substantial incentive to

cooperate with the government. United States v. Crumley, 565 F.2d 945, 949 (5th Cir. 1978); United

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States v. Onori, 535 F.2d 938, 945 (5th Cir.1976); United States v. Hall, 653 F.2d 1002, 1008 (5th

Cir.1981) (citing United States v. Landerman, 109 F.3d 1053, 1063 (5th Cir.), opinion modified on

reh'g, 116 F.3d 119 (5th Cir. 1997)). The fact that a witness did not get prosecuted or face other

professional consequences is directly relevant to that witness’s credibility. See United States v.

Cooks, 52 F.3d 101, 104 n.13 (5th Cir. 1995); accord United States v. Landerman, 109 F.3d 1053,

1063 (5th Cir.1997) (discussing Cooks); see also United States v. Dimora, 843 F. Supp.2d 799, 843

(N.D. Ohio 2012). Likewise, statements shifting blame to other individuals, charged or uncharged,

is permissible. Castillo v. Stephens, 640 F. App'x 283, 294 (5th Cir. 2016) (finding it was a

reasonable strategy to try to shift blame for a murder onto the accomplice witnesses).

       In situations where a witness has made statements about criminal activity but was not

subsequently charged, prosecutorial discretion does not preclude examination of the witnesses for

potential bias. The mere fact that the witness made the statements—even without an agreement not

to prosecute from the government—creates a motive to curry favor with the government. See

United States v. Figueroa, No. 09-20610-CR, 2010 WL 11506680, at *2 (S.D. Fla. July 7, 2010)

(adopting argument that bias and motive are separate and distinct from prosecutorial discretion and

finding that “any potential incentive offered to or perceived” by a witness—even absent an actual

agreement from the government—is appropriate cross-examination protected by the Sixth

Amendment).




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                                            Respectfully submitted,

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                                            ATTORNEYS FOR CHRISTOPHER RYDBERG




                               CERTIFICATE OF SERVICE

      I hereby certify that a true and correct copy of the above and foregoing instrument was served

by electronic transmittal by CM/ECF to opposing counsel on this 5th day of September, 2023.


                                                             /s/ Margaret D. Terwey
                                                             Margaret D. Terwey




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